41 F.3d 1507
    149 L.R.R.M. (BNA) 2256
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.NATIONAL LABOR RELATIONS BOARD Petitioner,v.GREAT LAKES WELDING AND BOILER COMPANY, Respondent.
    No. 94-6307.
    United States Court of Appeals, Sixth Circuit.
    Nov. 22, 1994.
    
      Before:  ENGEL, MARTIN and BOGGS, Circuit Judges.
    
    JUDGMENT
    
      1
      The National Labor Relations Board (the "Board") applies for summary enforcement of its June 15, 1994, decision and order in Case No. 8-CA-25727 in which it found the respondent violated federal labor law and directed the respondent to take certain remedial steps stated therein.  The respondent did not file an answer to the complaint and has not made an appearance either before the Board or this court.  Under these circumstances, we conclude the Board is entitled to the relief sought.  See 29 U.S.C. Sec. 160(e) ("No objection that has not been urged before the Board, its member, agent, or agency, shall be considered by the court, unless the failure or neglect to urge such objection shall be excused because of extraordinary circumstances.")
    
    
      2
      It therefore is ORDERED that the Board's decision and order in Case No. 8-CA-25727 is hereby enforced.  The respondent, Great Lakes Welding and Boiler Company, Cleveland, Ohio, its officers, agents, successors, and assigns, shall:
    
    1. Cease and desist from:
    
      3
      (a) Failing to remit all fringe benefit contributions due under the current contract with International Brotherhood of Boilermakers, Iron Ship Builders, Blacksmiths, Forgers and Helpers, Local Lodge No. 744, including those contributions due the Boilermakers-Blacksmith National Pension Trust and the Boilermakers National Annuity Trust on behalf of the employees in the following unit:
    
    
      4
      All production and maintenance employees, excluding all office clerical employees and professional employees, guards and supervisors as defined in the National Labor Relations Act (the "Act").
    
    
      5
      (b) In any like or related manner interfering with, restraining, or coercing employees in the exercise of the rights guaranteed them by Section 7 of the Act.
    
    
      6
      2. Take the following affirmative action necessary to effectuate the policies of the Act:
    
    
      7
      (a) make all fringe benefit contributions due, including making all delinquent contributions, and make the unit employees whole as set forth in the remedy section of the Board's decision.
    
    
      8
      (b) Preserve and, on request, make available to the Board or its agents, for examination and copying, all payroll records, social security payment records, timecards, personnel records and reports, and all other records necessary to analyze the amount of backpay due under the terms of this judgment.
    
    
      9
      (c) Post at its facility in Cleveland, Ohio, copies of the attached notice marked "Appendix."   Copies of the notice, on forms provided by the Regional Director for Region 8 of the National Labor Relations Board (Cleveland, Ohio), after being signed by the respondent's authorized representative, shall be posted by the respondent immediately upon receipt and maintained for 60 consecutive days in conspicuous places, including all places where notices to employees are customarily posted.  Reasonable steps shall be taken by the respondent to ensure that the notices are not altered, defaced, or covered by any other material.
    
    
      10
      (d) Notify the said Regional Director, in writing, within 20 days from the date of this judgment, what steps the respondent has taken to comply with this judgment.
    
    APPENDIX
    
      11
      NOTICE TO EMPLOYEES POSTED PURSUANT TO A JUDGMENT OF THE
    
    
      12
      UNITED STATES COURT OF APPEALS ENFORCING AN ORDER
    
    OF THE NATIONAL LABOR RELATIONS BOARD
    An Agency of the United States Government
    
      13
      The National Labor Relations Board has found that we violated the National Labor Relations Act and has ordered us to post and abide by this notice.
    
    
      14
      WE WILL NOT fail to remit all fringe benefit contributions due under the current contract with the International Brotherhood of Boilermakers, Iron Ship Builders, Blacksmiths, Forgers and Helpers, Local Lodge No. 744, including those contributions due the Boilermakers-Blacksmith National Pension Trust and the Boilermakers National Annuity Trust on behalf of our employees in the following unit:
    
    
      15
      All production and maintenance employees, excluding all office clerical employees and professional employees, guards and supervisors as defined in the Act.
    
    
      16
      WE WILL NOT in any like or related manner interfere with, restrain, or coerce you in the exercise of the rights guaranteed you by Section 7 of the Act.
    
    
      17
      WE WILL make all fringe benefit contributions due, including making all delinquent contributions, and make our unit employees whole, with interest, as set forth in a Decision of the National Labor Relations Board.
    
    GREAT LAKES WELDING AND BOILER COMPANY
    